Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 1 of 99 PageID 1




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                           Case No. ______________________

SFT IV, LLC, MOS18 LLC &
2206 AVENUE A LLC,

             Plaintiffs,

v.
GREAT LAKES INSURANCE SE,
             Defendant.
                                             /

                  DEFENDANT’S NOTICE OF REMOVAL

                                  I. INTRODUCTION

      Defendant, Great Lakes Insurance SE (“Great Lakes”), removes the action

pending in the Circuit Court of the Eighteenth Judicial Circuit in and for Brevard

County, Florida, Case No. 2023-CA-043363. The Brevard County Circuit Court is

within the Orlando Division of the Middle District of Florida. Removal is based on

diversity of citizenship pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. §§ 1446(a),

(b), and (c), and in accordance with 28 U.S.C. § 1332(a), there being complete

diversity of citizenship between Plaintiffs, SFT IV, LLC, MOS18 LLC, & 2206

Avenue A LLC, and Defendant, Great Lakes Insurance SE, and the matter in

controversy, exclusive of interest and costs, exceeds the sum of $75,000.
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 2 of 99 PageID 2




                  II. PROCEDURAL BACKGROUND AND COMPLIANCE

       This case involves a first-party property insurance claim concerning alleged

damage to Plaintiffs’ property purportedly caused by Hurricane Nicole. Compl. at

¶ 7. Plaintiffs filed a breach of contract lawsuit against Great Lakes in state court on

August 15, 2023.1 Great Lakes was served with process on October 3, 2023.

However, the Complaint only includes a general allegation regarding the amount in

controversy, stating that the “amount in controversy in this action exceeds the sum

of Fifty Thousand and One Dollars ($50,001.00), exclusive of pre-judgment interest,

court costs, and attorney’s fees.” Compl. at ¶ 3. Indeed, the Complaint is void of

any specific allegations regarding the damages sought by the Plaintiffs.

Furthermore, the Complaint does not attach any exhibits in support of Plaintiffs’

alleged damages, other than the subject insurance policy. Therefore, at the time of

service, the case was not removable based on the allegations in the initial pleading.

       On December 11, 2023, Plaintiffs’ counsel communicated a written settlement

demand via email to Defendant’s counsel to resolve the allegations pleaded in the

Complaint. Plaintiffs’ demand exceeds $75,000.00, exclusive of interest and costs.

Accordingly, Plaintiff’s demand constitutes an “other paper” under 28 U.S.C.

1446(b)(3), thus making the action removable. Therefore, Great Lakes’ deadline for

removal is January 10, 2024, and this notice is timely pursuant to 28 U.S.C. §


1
 A current and correct copy of the Brevard County Circuit Court’s progress docket is attached as
EXHIBIT A.
                                               2
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 3 of 99 PageID 3




1446(b)(3). See, Chabad Lubavitch of Pembroke Pines, Inc. v. GeoVera Specialty

Ins. Co., Case No. 21-CV-61420-RAR, 2021 WL 5155718 at *3 (S.D. Fla. Nov. 5,

2021) (“The document triggering Defendant’s 30 days to file a notice of removal

was Plaintiffs’ [post-litigation] written settlement demand, and Defendant properly

removed during this period.”); 4649 NW 36 St., LLC v. Scottsdale Ins. Co., No. 20-

24546-CIV-WILLIAMS/MCAILILEY, 2021 WL 883495 at *3 (S.D. Fla. Feb. 21,

2021) (“This settlement offer, which is a document that Defendant received from

Plaintiff after litigation commenced, constitutes ‘other paper’ and began the 30-day

removal deadline.”); Gallion v. Zoe’s Restaurants, LLC, 524 F.Supp. 3d 1236, 1242

(M.D. Ala. 2021) (“There is little dispute that a settlement offer can constitute an

‘other paper’ within the meaning of 28 U.S.C. § 1446(b)”) (citing to Lowery v. Ala.

Power Co., 483 F.3d 1184, 1213 n.62 (11th Cir. 2007); Gleaton & Demaria Comm.

Dev., LLC v. Westchester Surp. Lines Ins., No. 3:18-CV-1913-MCR-GRJ, 2018 WL

8496001 (N.D. Fla. Sep. 21, 2018) (“Regarding settlement offers, courts

differentiate between pre-suit and post-suit settlement demands, considering post-

suit settlement demands as ‘other paper’ for the purpose of ascertaining that the case

is removable, thereby triggering the thirty-day filing period.”).

      The plain language of 28 U.S.C. § 1446(b)(3) requires that if an “other paper”

is to start the thirty-day time period, a defendant must receive the “other paper” after

receiving the initial pleading. Chapman v. Powermatic, Inc., 969 F.2d 160, 164 (5th

Cir. 1992). The second paragraph of § 1446(b) applies by its terms only “if the case

                                           3
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 4 of 99 PageID 4




stated by the initial pleading is not removable . . ..”        28 U.S.C. § 1446(b).

Importantly, the second paragraph of § 1446(b) requires that the defendant remove

the case, if at all, within 30 days after receipt of an “other paper” from which the

defendant may first ascertain that the case is removable. Chapman, 969 F.2d at 164.

Logic dictates that a defendant can “first” ascertain whether a case is removable from

an “other paper” only after receipt of both the initial pleading and that “other paper”;

and therefore, the thirty-day time period begins to run, not from the receipt of the

initial pleading, but rather from the receipt of the “other paper” revealing that the

case is removable. Id. Accordingly, this notice is timely pursuant to 28 U.S.C. §

1446(b)(3).

      Copies of all process, pleadings, and orders served upon Great Lakes are

attached as COMPOSITE EXHIBIT B in compliance with 28 U.S.C. § 1446(a). Great

Lakes will file any supplemental papers not available as of the date of this notice if

it becomes necessary.

      Contemporaneously with the filing of this notice of removal, Great Lakes has

served a notice of filing notice of removal upon Plaintiffs as required by 28 U.S.C.

§ 1446(d), a copy of which (without exhibits) is attached as EXHIBIT C. The original

notice, with exhibits, is being filed with the clerk of the state court in accordance

with 28 U.S.C. § 1446(d).




                                           4
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 5 of 99 PageID 5




      Great Lakes is the only defendant named in this action, and it may remove the

action without seeking the consent of any other party. See White v. Bombardier

Corp., 313 F.Supp.2d 1295, 1299-1300 (N.D. Fla. 2004); 28 U.S.C. § 1446(b).

      As 28 U.S.C. § 1446(a) also requires, the grounds for removal are set forth

below.

                  III. SUMMARY OF THE GROUNDS FOR REMOVAL

      As further demonstrated herein, this action is removable to this Court given

that there is a complete diversity of citizenship between the Parties and the matter in

controversy exceeds $75,000 pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. §§

1446(a), (b), and (c), and in accordance with 28 U.S.C. § 1332(a).

      28 U.S.C. § 1332(a)(2) provides in pertinent part:

      (a) The district courts shall have original jurisdiction of all civil actions where
the matter in controversy exceeds the sum or value of $75,000, exclusive of interest
and costs, and is between—
      …

       (2) citizens of a State and citizens or subjects of a foreign state, except that
the district courts shall not have original jurisdiction under this subsection of an
action between citizens of a State and citizens or subjects of a foreign state who are
lawfully admitted for permanent residence in the United States and are domiciled in
the same State;

28 U.S.C. § 1332(a)(2).

A.    The Amount in Controversy exceeds $75,000 and is Evidenced by
      Plaintiffs’ Post-Suit Demand.

      In setting forth the amount in controversy, “[A] defendant’s notice of removal

need include only a plausible allegation that the amount in controversy exceeds the

                                           5
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 6 of 99 PageID 6




jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens, 574 U.S.

81, 89 (2014) (citing 28 U.S.C. § 1446(a)). But if there is a dispute regarding the

amount in controversy, the burden rests on the defendant to prove by a

preponderance of the evidence that the amount in controversy exceeds the

jurisdictional threshold. Id. at 88. (quoting 28 U.S.C. § 1446(c)(2)(B)).

      However, “a removing defendant is not required to prove the amount in

controversy beyond all doubt or to banish all uncertainty about it. Pretka v. Kolter

City Plaza II, Inc., 608 F.3d 744, 754 (11th Cir. 2010). “Where, as in this case, the

complaint alleges an unspecified amount of damages, ‘the district court is not bound

by the plaintiff’s representations regarding its claim,’ and may review the record for

evidence relevant to the amount in controversy.” DO Rests., Inc. v. Aspen Specialty

Ins. Co., 984 F.Supp. 2d 1342, 1344 (S.D. Fla. 2013) (citing Roe v. Michelin N. Am.,

Inc., 613 F.3d 1058, 1061 (11th Cir. 2010)). The Court may also use its judicial

experience and make reasonable inferences and deductions to determine the amount

in controversy. See Roe, 613 F.3d at 1061-62; Pretka, 608 F.3d at 754 (discussing

the difference between reasonable deductions and inferences with “conjecture,

speculation, or star gazing”); E.S.Y., Inc. v. Scottsdale Ins. Co., 217 F.Supp. 3d 1356,

1360 (S.D. Fla. 2015).

      On December 11, 2023, Plaintiffs’ counsel served a written post-suit

settlement demand for $1,758,183.18 ($1,893,315.68 in alleged damages less the

policy’s wind deductible of $135,132.50). Plaintiffs’ written demand includes a

                                           6
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 7 of 99 PageID 7




breakdown for: (1) building damage ($699,901.69); (2) increase cost of construction

($139,980.34); (3) business interruption ($525,600.00); (4) engineering costs

($9,775.00); (5) interest ($64,758.65); (6) attorney’s fees ($448,800.00); and (7)

costs ($4,500.00). In support of the building damage component of the demand,

Plaintiffs attach a 128-page detailed repair estimate for $699,901.69, which was

prepared by Plaintiffs’ retained estimator, Mario Farnesi.           According to the

Plaintiffs, the estimate represents the cost of necessary repairs to Plaintiffs’ property

because of the alleged wind damage purportedly caused by Hurricane Nicole.

Numerous courts have concluded that Federal Rule 408 does not make settlement

offers inadmissible as evidence of the amount in controversy. Coleman v. NPC Int’l,

Inc., 4:09-CV-50/RS/WCS, 2009 WL 10675080, at *2 (N.D. Fla. Mar. 4, 2009). See

Cohn v. Petsmart, Inc., 281 F.3d 837, 839 n. 3 (9th Cir. 2002) (“We reject the

argument that Fed. R. Evid. 408 prohibits the use of settlement offers in determining

the amount in controversy.”); Ray v. American Airlines, Inc., No. 08-5025, 2008 WL

3992644, *4 (W.D. Ark. Aug. 22, 2008) (“We agree that Rule 408 does not prohibit

the use of a settlement letter to establish the amount in controversy”).

      Furthermore, when a statute authorizes the recovery of attorney’s fees, and

the plaintiff has requested attorney’s fees, a reasonable amount of those fees is

included in the amount in controversy. Missouri State Life Ins. Co. v. Jones, 290

U.S. 199, 201 (1933); Morrison v. Allstate Indemnity Co., 228 F.3d 1255, 1265 (11th

Cir. 2000). Reasonable attorney’s fees claimed in insurance cases under Florida

                                           7
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 8 of 99 PageID 8




statute are properly considered as part of the total amount in controversy for purposes

of diversity jurisdiction. DO Restaurants, Inc., 984 F.Supp. 2d at 1346. “The case

at bar involves an insurance contract so there is no dispute that attorney’s fees are

included in arriving at the amount in controversy.” Lein v. Hartford Fire Ins. Co.,

No. 10-80394-CIV, 2010 WL 11602611, at *4 (S.D. Fla. May 24, 2010 (citing State

Farm Fire & Cas. Co. v. Palma, 629 So. 2d 830, 832 (Fla. 1993) (finding that the

terms of Fla. Stat. § 627.428, which mandates recovery of fees, are an implicit part

of every insurance policy). Here, Plaintiffs allege entitlement to attorney’s fees

pursuant to Section 626.9373, Florida Statutes, which authorizes an award of

reasonable attorney’s fees upon the rendition of a judgment against a surplus lines

insurer2. Compl. at ¶ 16. Accordingly, the recovery of attorney’s fees is permitted

under Florida law and the Plaintiffs have requested fees in the Complaint. See Id.

Therefore, some measure of reasonable attorney’s fees is appropriately included

when calculating the amount in controversy.

       Therefore, based on Plaintiffs’ post-suit written settlement demand, which is

at least partially supported by the detailed itemized repair estimate for $699,901.69,

the amount in controversy is sufficient to invoke the Court’s diversity jurisdiction

under 28 U.S.C. § 1332(a)(2).




2
 Defendant, Great Lakes Insurance SE, conducts business in Florida on a surplus lines basis. See
Office of Insurance Regulation website, https://floir.com/CompanySearch/ (last visited Sept. 29,
2023).
                                               8
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 9 of 99 PageID 9




B.     Complete Diversity of Citizenships Exists Between the Parties.

       i.      SFT IV, LLC is a Citizen of Georgia.

       According to the Florida Department of State, Division of Corporation, SFT

IV, LLC, is an active Florida Limited Liability Company. A limited liability

company is considered a citizen for diversity purposes of each state in which a

member is a citizen. Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C.,

374 F. 3d 1020, 1022 (11th Cir. 2004). “To sufficiently allege the citizenships of

these unincorporated business entities, a party must list the citizenships of all the

members of the limited liability company.” Id. Upon information and belief, the

sole member of SFT IV, LLC, is Emilia Ruiz Akridge.

       According to publicly available records3, Ms. Akridge is domiciled at 1323

Murdock Rd., Marietta, GA 30062, where she maintains a homestead exemption.

Ms. Akridge also maintains an active Georgia voter registration using the same

aforementioned address, which is further evidence of her domicile and intent to

remain in Georgia. Therefore, Ms. Akridge is domiciled in Georgia and thus a



3
  Available public records can be considered when determining a party’s citizenship or domicile;
these records could include property records and voter registration. Brooks v. Sears, Roebuck and
Co., No. 6:18-cv-5534-Orl-37DCA, 2018 WL 3445421, at *2 (M.D. Fla. Jul. 24, 2018); Akkan v.
Nationstar Mortg. LLC, No. 1:16-cv-1999-WSD-LTW, 2016 WL 11260335, at *1 (N.D. Ga. Nov.
16, 2016); Taylor v. American Heritage Church Finance, Inc., No. 6:10-cv-559-Orl-31GLK, 2010
WL 2889694, *1-2 (M.D. Fla. Jul. 19, 2010) (“Factors frequently taken into account when
assessing the domicile of a party include: the party’s current residence; payment of taxes; voter
registration and voting practices; driver’s license and automobile registration; situs of personal and
real property….”); Jakobot v. American Airlines, Inc., No. 10-61576-CIV, 2011 WL 2457915, *4
(S.D. Fla. Jun. 20, 2011); Matos-Cruz v. JetBlue Airways Corp., No. 6:17-cv-380-Orl-37TBS, *1
(M.D. Fla. Aug. 1, 2017).
                                                  9
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 10 of 99 PageID 10




citizen of Georgia. Accordingly, since Ms. Akridge is the sole member of SFT IV,

LLC, and because she is a citizen of Georgia, SFT IV, LLC, is therefore a citizen of

Georgia.

      ii.    Mos18, LLC is a Citizen of Georgia.

      According to the Georgia Department of State, Corporations Division,

Mos18, LLC, is an active Georgia Limited Liability Company. Upon information

and belief, the sole member of Mos18, LLC, is Emilia Akridge, who, as explained

above, is a citizen of Georgia. Accordingly, since Ms. Akridge is the sole member

of Mos18, LLC, and because she is a citizen of Georgia, Mos18, LLC, is therefore a

citizen of Georgia.

      iii.   2206 Avenue A LLC is a Citizen of Florida.

      According to the Florida Department of State, Division of Corporation, 2206

Avenue A LLC, is an active Florida Limited Liability Company. Upon information

and belief, the sole member of 2206 Avenue A LLC.

      According to publicly available records, Shawn T. Kaleta maintains an active

Florida voter registration using an address in Manatee County at 102 48th Street,

Holmes Beach, Florida 34217. Mr. Kaleta also has an active Florida Driver License

and maintains an active Florida Certified General Contractor License, using the same

aforementioned address at Holmes Beach, Florida, which is further evidence of his

domicile and intent to remain in Florida. Therefore, Mr. Kaleta is domiciled in

Florida and thus a citizen of Florida. Since Mr. Kaleta is the sole member of 2206

                                        10
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 11 of 99 PageID 11




Avenue A LLC, and because he is a citizen of Florida, 2206 Avenue A LLC, is

therefore a citizen of Florida.

      iv.    Defendant Great Lakes is a Citizen of Germany
      Defendant, Great Lakes Insurance SE, is organized as Societas Europaea, or

“SE,” and is a European corporation pursuant to the corporate laws of the European

Union. In determining the citizenship of an SE for federal diversity jurisdiction

purposes, the district court in SNC-Lavalin Constructors Inc. v. Tokio Marine Kiln

Insurance Limited, Certain Underwriters at Lloyd’s, Civ. Nos. GJH-19-873 and

GJH-19-1510, 2021 WL 2550505 (D. Md. June 21, 2021) found that an SE had all

of the features of a U.S. corporation. Id. at *9. Accordingly, the court concluded

that an SE should be treated like a U.S. corporation for the purposes of diversity

jurisdiction. Id. Therefore, when determining Great Lakes’ citizenship, it is a citizen

of both its state of incorporation and principal place of business for purposes of

diversity jurisdiction. 28 U.S.C. § 1332(c)(1).

      Great Lakes’ registered office is in Munich, Germany, entered into the

commercial register of the local court in Munich under HRB 230378. Furthermore,

Great Lakes’ principal place of business is at Königinstrasse 107, 80802 Munich,

Germany. Accordingly, Great Lakes’ state of incorporation and principal place of

business are both Munich, Germany, and Defendant is therefore a citizen of

Germany.



                                          11
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 12 of 99 PageID 12




      Therefore, because Plaintiffs are citizens of Georgia and Florida and

Defendant is a citizen of Germany, there is complete diversity between the parties.

B.    This Action Is Filed in Brevard County, Located Within the Orlando
      Division of This Court

      Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be

removed by the defendant or the defendants, to the district court of the United States

for the district and division embracing the place where such action is pending.”

      Here, Plaintiffs have filed this action in the Circuit Court of the Eighteenth

Judicial Circuit in and for Brevard County, Florida, thereby submitting to the

jurisdiction of Brevard County as the proper venue. Brevard County is located in

the Orlando Division of this Court. Accordingly, removal to the Orlando Division

of this Court is proper pursuant to 28 U.S.C. § 1441(a).

                                 IV. CONCLUSION

      Removal is proper pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. §§ 1446(a),

(b), and (c), and in accordance with 28 U.S.C. § 1332(a), there being complete

diversity of citizenship between the Plaintiffs and the Defendant, and the matter in

controversy, exclusive of interest and costs, exceeds $75,000. Great Lakes has met

all procedural requisites for removal, and this notice is timely filed. Accordingly,

Great Lakes respectfully requests the Court take jurisdiction and conduct all further

proceedings in this case.


                                         12
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 13 of 99 PageID 13




      Submitted this December 18, 2023.

                                          By:    /s/ David B. Levin
                                                 David B. Levin (Lead Counsel)
                                                 Florida Bar No.: 026394
                                                 dlevin@bakerdonelson.com
                                                 Brian W. Fernandez
                                                 Florida Bar No.: 1029848
                                                 bfernandez@bakerdonelson.com

                                                 BAKER, DONELSON,
                                                 BEARMAN, CALDWELL &
                                                 BERKOWITZ, PC
                                                 1 Financial Plaza, Suite 1620
                                                 100 SE 3rd Avenue
                                                 Fort Lauderdale, Florida 33394
                                                 Telephone: (954) 768-1600

                                                 Attorneys for Great Lakes

                            CERTIFICATE OF SERVICE

      I hereby certify that on December 18, 2023, I served a copy of the foregoing

Notice of Removal electronically via CM/ECF or via U.S. mail to all

parties/attorneys on the list to receive service/notice in this case, including but not

limited to the following:

       Andrew P. McDonald
       David D. Barnhill
       Ryan L. Gontrum
       McDonald & Barnhill, P.A.
       505 S. Magnolia Ave.
       Tampa, FL 33606
       eservice@mcdonaldbarnhill.com
       Attorneys for Plaintiffs

                                                /s/ David B. Levin


                                          13
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 14 of 99 PageID 14




                                                                    Exhibit A
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 15 of 99 PageID 15
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 16 of 99 PageID 16




                                                    Composite Exhibit B
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 17 of 99 PageID 17
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 18 of 99 PageID 18
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 19 of 99 PageID 19
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 20 of 99 PageID 20
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 21 of 99 PageID 21
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 22 of 99 PageID 22
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 23 of 99 PageID 23
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 24 of 99 PageID 24
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 25 of 99 PageID 25
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 26 of 99 PageID 26
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 27 of 99 PageID 27
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 28 of 99 PageID 28
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 29 of 99 PageID 29
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 30 of 99 PageID 30
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 31 of 99 PageID 31
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 32 of 99 PageID 32
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 33 of 99 PageID 33
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 34 of 99 PageID 34
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 35 of 99 PageID 35
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 36 of 99 PageID 36
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 37 of 99 PageID 37
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 38 of 99 PageID 38
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 39 of 99 PageID 39
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 40 of 99 PageID 40
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 41 of 99 PageID 41
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 42 of 99 PageID 42
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 43 of 99 PageID 43
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 44 of 99 PageID 44
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 45 of 99 PageID 45
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 46 of 99 PageID 46
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 47 of 99 PageID 47
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 48 of 99 PageID 48
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 49 of 99 PageID 49
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 50 of 99 PageID 50
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 51 of 99 PageID 51
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 52 of 99 PageID 52
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 53 of 99 PageID 53
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 54 of 99 PageID 54
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 55 of 99 PageID 55
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 56 of 99 PageID 56
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 57 of 99 PageID 57
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 58 of 99 PageID 58
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 59 of 99 PageID 59
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 60 of 99 PageID 60
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 61 of 99 PageID 61
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 62 of 99 PageID 62
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 63 of 99 PageID 63
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 64 of 99 PageID 64
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 65 of 99 PageID 65
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 66 of 99 PageID 66
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 67 of 99 PageID 67
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 68 of 99 PageID 68
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 69 of 99 PageID 69
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 70 of 99 PageID 70
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 71 of 99 PageID 71
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 72 of 99 PageID 72
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 73 of 99 PageID 73
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 74 of 99 PageID 74
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 75 of 99 PageID 75
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 76 of 99 PageID 76
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 77 of 99 PageID 77
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 78 of 99 PageID 78
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 79 of 99 PageID 79
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 80 of 99 PageID 80
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 81 of 99 PageID 81
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 82 of 99 PageID 82
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 83 of 99 PageID 83
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 84 of 99 PageID 84
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 85 of 99 PageID 85
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 86 of 99 PageID 86
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 87 of 99 PageID 87
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 88 of 99 PageID 88
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 89 of 99 PageID 89
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 90 of 99 PageID 90
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 91 of 99 PageID 91
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 92 of 99 PageID 92
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 93 of 99 PageID 93
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 94 of 99 PageID 94
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 95 of 99 PageID 95
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 96 of 99 PageID 96
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 97 of 99 PageID 97
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 98 of 99 PageID 98




           IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
                     IN AND FOR BREVARD COUNTY, FLORIDA

                                 CIRCUIT CIVIL DIVISION

 SFT IV, LLC, MOS18 LLC &
 2206 AVENUE A LLC,

                Plaintiffs,                                     Case No. 2023-CA-043363

 v.

 GREAT LAKES INSURANCE SE,

                Defendant.
                                                         /

                       NOTICE OF FILING NOTICE OF REMOVAL

       Defendant, Great Lakes Insurance SE, hereby gives notice of filing its Notice of Removal,

a copy of which is attached.

       Submitted on December 18, 2023.

                                                   BAKER, DONELSON, BEARMAN,
                                                   CALDWELL & BERKOWITZ, PC
                                                   1 Financial Plaza, Suite 1620
                                                   100 SE 3rd Avenue
                                                   Fort Lauderdale, Florida 33394
                                                   Telephone: (954) 768-1600
                                                   Counsel for Defendant

                                                   By:       /s/ David B. Levin
                                                             David B. Levin
                                                             Florida Bar No.: 26394
                                                             dlevin@bakerdonelson.com
                                                             Brian W. Fernandez
                                                             Florida Bar No.: 1029848
                                                             bfernandez@bakerdonelson.com
                                                             Kristen Calzadilla
                                                             Florida Bar No.: 1035476
                                                             kcalzadilla@bakerdonelson.com




                                                                                Exhibit C
Case 6:23-cv-02420-ACC-RMN Document 1 Filed 12/18/23 Page 99 of 99 PageID 99




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Filing Notice

of Removal was filed electronically and was sent by e-mail from the Florida Courts’ E-Filing Portal

system, unless otherwise noted below, on all counsel or parties of record listed below, this

December 18, 2023.

        Andrew P. McDonald
        David D. Barnhill
        Ryan L. Gontrum
        McDonald & Barnhill, P.A.
        505 S. Magnolia Ave.
        Tampa, FL 33606
        eservice@mcdonaldbarnhill.com
        Attorneys for Plaintiffs

                                                     /s/ David B. Levin




                                                2
